Exhibit 9

USWGO
QANON // DRAIN THE SWAMP
MAKE AMERICA GREAT AGAIN

 

en —_

MARTINSVILLE VIRGINIA CIRCUIT COURT CASE NO. CR19000009-00

UNITED STATES DISTRICT COURT CASE NO. 1:13-CR-435-1
MIDDLE DISTRICT OF NORTH CAROLINA

Case 1:13-cr-00435-TDS Document 181-10 Filed 07/22/19 Pane 1 of 7
[BRIAN HILL (174826) [DOB: 5/26/1950]

Close GAPrint

 

 

 

 

 

 

 

 

 

. DIAGNOSIS

Axis/Order Axis 3/1 Diagnosis {F42.9} Obsessive-compuisive disorder, unspecified
Axis/Order Axis 3/2 Diagnosis {F84.0) Autistic disorder
Axis/Order Axis 3/3 Diagnosis (F29) Unspecified psychosis not due to a substance or known physiological condition
Axis/Order Axis 3/4 Diagnosls {F41.1) Generalized anxiety disorder
WHODAS 2.0 General Disability

‘Assessment Date General Raw Score General Average Score

Score description Raw Score Average Score

 

Cognition

 

Mobility

 

Seif-cara

 

Getting along

 

Life activities

 

 

 

Participation

 

 

 

 

 

 

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, Piedmont Community Services
6 13 MOSS ST SOUTH
MARTINSVILLE, VA 24112

Client Name: BRIAN HILL SSN/Acct # 591980319 / 174626
Address: ato FOREST ST APT 2 MARTINSVILLE VA 24112- = Date/Time: x 0/24/2018 9:51 AM to 10:23
Insurance: Employee Name: CONRAD DAUM / MD
Diagnosis: Visit TypefCPT Med Note [Jail] / Nonbill
BOB §/26/1980
Notes: Non-Face-to-Face Service
HISTORY

Chief Complaint: Notes:

“guy in hodia threatened to kill my mother if | didn't do what he said" "meltdown" He was arrested for walking down
the street naked and charged with a probation violation.

History of Present IlIness (HPI): Notes:

local is mental, quality he agreed to zyprexa and zoloft. severity moderate, duration 1st admit 2043 ONLY, time of tx
start here 2013, context Jail inmate. associated he was convicted for child porn and is on sex registry. He believes he
was convicted unfairly by a conspiracy of the court officials. He believes Critical documents proving his innocence
were deliberately destroyed. Modify is tx accepted, ills see med hx.

Past Medical / Family Medical / Social Hx: .

LEGAL HX: He would only discuss the child pron and probation violation convictions.

PSYCH HX; He tried suicide, but no family hx, he denied wanting to harm self or others the past month. He denied
any SUD or tobacco, Hx autism, OCD, GAD

MEDICAL Hx: Diabetes, IBS, Eczema, op only wisdom teeth, no fx hx, hypoglycemic seizures, hx concussions during
seizures,

FAMILY HX: 0 kids, 1/2 sisters=2, 0 brothers, mom living, dad hx unknown no hx of inpatient , SUD, jail, Hx
Hypertension, ulcerative colitis,

SOCIAL HX: born Orlando FL, raised NC, some HS, single, no church, on disability, lives alone with caretaker's help.

Review of Symptons (ROS}

Constitutional: Notes:
sleeping ok

Eyes: Notes:

see ok

Ears, Nose, Mouth, Throat: Notes:
hear ck

Cardiovascular: Notes:
no chest pain

 

 

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Respiratory: Notes:
breathing ck

Musculoskeletal: Notes:
no LBP

integumentary (skin and/or breast): Notes:
ho tattoos

Neurological: Notes:
seizure hx and diabetic foot neuropathy

Endocrine: Notes:
diabetes

Hematologic/Lymphatic: Notes:
no nodes

Allergic/immunologic: Notes:
allergy see list

Genitourinary: Notes:
bladder frequency

GastroIntestinal: Notes:
GERD SX, episodic diarrhea

EXAM
Constitutional Vital Signs:

Musculoskeletal

Muscle strength and tone: Notes
ok

Gait and station: Notes
ok

 

 

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Behavior

Appearance: Well-groomed
Activity: Normal

Attitude: Cooperative

Articulation (Speech): Normal Rate, Rhythm, Volume
Sensorium

Consciousness: Alert

Orientation: Full

Memory: Intact
Attention/Concentration: Adequate
Emotion

Affect: Comfortable and Reactive
Mood: Euthymic

Congruency: Congruent

Suicidal Ideation: None

Homicidal Ideation: None
Thought

Thought Process: Goal-directed
Thought Content: Delusional
Intelligence: Average

(based upon fund of knowledge, comprehension, and vocabulary)
Insight: Full

Judgement: Intact

Perception: Normal

Impression

Brief summary of present status of case: Notes
aims=0

DIAGNOSES ;
Current Diagnoses:

Effective Date : 10/24/2018
1 (F42.9) Obsessive-compulsive disorder, unspecified

Diagnosed By : Diagnosed Date :
Onset Date : Previous Onset Date: .
Onset Prior to Admission:
RIO: No
Notes:
Date Updated: 03/21/2017
SNOMED: -
2 (F84.0) Autistic disorder
Diagnesed By : Diagnosed Date :
Onset Date : Previous Onset Date :
Onset Prior to Admission:
R/O: No
Notes:
Date Updated: 03/02/2016
SNOMED: -

3 (F29) Unspecified psychosis not due to a substance or known physiological condition
Diagnosed By : Diagnosed Date :

Onset Date : Previous Onset Date :
Onset Prior to Admission:

R/O: No

Notes:

 

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Date Updated: 10/24/2018

SNOMED: -

4 (F41.1) Generalized anxiety disorder
Diagnosed By : Diagnosed Date :
Onset Date : Previous Onset Date :
Onset Prior to Admission:

RIO: No

Notes: BRITTLE DIABETES
Date Updated: 10/24/2018
SNOMED: -

WHODAS 2.0 General Disability Assessment Date:
Raw Score: Avg Score:
Cognition:
Mobtlity:
 ‘Self-care:
Getting along:
Life activities:
Participation:

Psych Diagnoses & Status

Diagnosis: all

Status: Stable

Niedical Diagnoses & Status
COLUMBIA ASSESSMENT

1) Wished to be Dead:
Have you wished you were dead or wished you could go to sleep and not wake up?: No

2) Suicidal Thoughts:
Have you actually had any thoughts of killing yourse!lf?: No

6) Suicidal Behavior Question:
Have you ever done anything, started to do anything, or prepared to do anything to end your life?: Yes

Was this within the past three months? (please explain): No
SUMMARY
Service Modality: Non-Face-to-Face Service

Current Medications:

Medication:insulin aspart U-100 100 unit/mL subcutaneous solution
Start Date:10/24/2018

Dosage:

Frequency:

Medication:clanzapine 2.5 mg tablet
Start Date:10/24/2018
Sig:Take + Caplet By Oral Route 1 time at bedtime for mood swings

Niedication:sertraline 50 mg tablet
Start Date:10/24/2018 /
Sig:Take 1 Caplet By Oral Route 1 time after breakfast for anxiety

Plan
Wiedication Changes: .

Next Appointment: Date
prn

E/M Level: 5
EMM Score: 5

 

 

 

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Employee. Signature

 

40/2418 2:51 PM
CONRAD DAUM - MD

MD

 

C2 oom ND

Supervisor's Signature|
Approved by CDAUM on 10/24/18
CONRAD DAUM, MD, MD

 

 

 

 

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